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                  IN THE CIRCUIT COURT OF RICHMOND CITY, VIRGINIA



CHARLENE J WATKINS, Plaintiff                                *       Case No.   'h'~?Syrs!loD
                                                             *


                                                             *
                                                                     JURY TRIAL DEMANDED
                                                            *
V.
                                                            *



FEDERAL HOME LOAN MORfOAGE CORPORATION,
TRUSTEE FOR FMSCRT Trust, SERIES 2023-1, *
FREDDIE MAC SEASONED CREDIT RISK TRANSFER
TRUST, SERIES 2023-1, RAS-TRUSTEE SERVICES, LLC, *
COUNTRYWIDE HOME LOANS, INC/BOA LOAN                             *



SERVICING SPECIALIST, NEWREZ, LLC DBA                        *


SHELLPOINT                 VIRGINIA HOUSING DEVELOPMENT *
AUTHORITY                                                    *



Defendants                                                   *




                              PLAINTIFF’S ORIGINAL COMPLAINT



        COMES NOW, Charlene J Watldns, pro sc, Plaintiff to bring this action for recoupment

of damages against the defendants for the ongoing suffering and extortion caused by the unfair

and deceptive practices of the defendants, including but not limited to false misrepresentation of

material facts, breach of contract, breach of trust, failure to disclose, contract fraud, violations of

TILA; hereby files this complaint, and in support thereof, states as follows:


                                                  PARTIES


             1.   The Plaintiff:
                         Charlene J Watkins

                         4337 Ferguson Lane
                         Richmond, Virginia
                                       23234




           2.     The Defendants:



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                    a.   Federal Home Loan Mortgage Corporation, Trustee for FMSCRT Trust,
                         SERIES 2023-1
                         8200 Jones Branch Drive

                         McLean, Virginia
                   b.    Countrywide Home Loans, Inc/BOA Loan Servicing Specialist
                         100 North Tryon Street
                         Charlotte, North Carolina
                                        28255
                    c.   Freddie Mac Seasoned Credit Risk Transfer Trust, SERIES 2023-1
                         8200 Jones Branch Drive
                         McLean, Virginia

                    d.   Virginia Housing Development Authority
                         601 South Belvidere Street

                         Richmond, Virginia
                         23220
                                        22102
                    e.   NewRez, DBA Shellpoint
                         75 Beattie Place, Suite 300
                         Greenville, South Carolina
                                        29601


                    f.   RAS Trust Services, LLC
                         4012 Raintree Rd Ste lOOA

                         Chesapeake, VA
                                         23321




                                      JURISDICTION AND VENUE


        The jurisdiction of this court is invoked under 15 USC 1601 (TILA), contract fraud.

breach of contract, and false misrepresentation of material facts, and adequate assurance of

performance.

       The venue is proper pursuant to 23 USC 1391 due to the mortgages and deeds of trust

being executed, as well as the subject matter property being located in this district.

The basis for federal court jurisdiction in this matter is Federal question.


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                                     STATEMENT OF FACTS


        On May 25, 2001, Plaintiff entered into a consumer credit transaction to purchase her

property at 4337 Ferguson Lane, Richmond, Virginia 23234 as a first-time homebuyer through

the Virginia Housing Development Authority. As a result, a deed was recorded on the county

record showng the property she purchased using her consumer credit for family, personal, and

household reasons being granted to her. The deed was executed on May 25,2001and recorded as

document no. 0I0016I32 in the city of Richmond on June 25, 2001 at 2:54 pm. This deed is

evidence that the Plaintiff is the true owner of the property as it was conveyed to her, see Exhibit

A.


        The Plaintiff also possesses a certified copy of a UCC-11 search dated January 22,2025,

that resulted in no liens, interest, or rights showing secured on her property by any person or

financial institution. These results are further evidence that the Plaintiff is the rightful owner and


REAL party of interest in her property at 4337 Ferguson Lane, Richmond, Virginia 23234, see

Exhibit B and is being extorted for payment.

       On September 26, 2006, Plainti ff entered into another consumer credit transaction to

refinance her property in which she signed a promissory note with Countrywide Home Loans,

Inc. later acquired by BOA Loan Servicing Specialist. At the time the Plaintiff was not aware she

was already the true owner of the property as evidenced by the deed recorded from her initial

purchase of the property, or that she was being extorted for payments she does not owe as this

was all concealed from her by the false misrepresentation of material facts and lack of full

disclosure of the true nature of the transaction. The defendant entered into the agreement with


unclean hands misrepresenting itself as a lender. The ambiguous language on the contract



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clearly states, 'Tor the loan that I received..The note itself is prima facie evidence of the

misrepresentations and the PlaintifTs enlillement to recoupment. The deed of trust in which the

Plaintiff granted legal title and power of sale to the trustee, Samuel White for the benefit of

MERS is fraud. The Plaintiff granted the security interest in her property under the

misrepresentation that the bank was extending her credit to refinance the property. The Plaintiff

is now aware that neither bank(the original mortgagor or the refinancer) ever extended her any

credit, but instead accepted her promissory note as a cashier's check depositing it, and then using

the deposit to fund the loan. A deposit upon the bank’s books is a liability owed to the depositor,

which is still outstanding for every institution that deposited her note. If the bank never fulfills its

obligation in the contract, then the bank does not own the mortgage note. “A bank is not the

holder in due course upon merely crediting the depositors account.” Bankers Trust v. Nagler, 229

NYS 2d 142, 143. The bank received equity in the Plaintiffs property for free without risking

any of its assets or that of its customers, in exchange for the unpaid liability. The Plaintiff

received no equal value consideration in exchange for her security interest, which vitiates the

rights granted by her in the deed of trust. The trustee does not have and cannot prove any

standing to lawfully foreclose on the Plaintiffs property, because the financial institution never

performed its obligation of the contract which was to extend the Plaintiffs credit. Therefore,

lawful interest was never obtained by the financial institution for the trustee to be granted legal

title. If the bank refuses to perform, then they must return the mortgage note. If the bank wishes

to perform, then they must make the loan. The past payments must be returned because the bank

had no irghts or interest in the property to extort payments. The bank has no right to sell a

mortgage note for two reasons. The mortgage note was deposited and the money was withdrawn

without authorization by using a forged signature; two, the contract was never fulfilled. The bank



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acted without authorization and is involved in fraud thereby damaging the alleged borrower. For


a legal obligation to stand both parties must give consideration. The Plaintiff is the originator of

the note that was deposited as an asset to the bank, therefore, she is invoking her right to

adequate assurance of performance by the bank, pursuant to UCC § 2-609. Otherwise, this is an

unconscionable contract written by the bank that they failed to perform their obligation

regarding, thereby receiving/depositing the note at no cost to them. This is unfair and deceptive

to the Plaintiff. The rule that requires mutuality of obligation with respect to contracts to be

performed in the future, where the promise of one party constitutes the sole consideration for the

promise of the other party, arises from what is regarded by the courts as the inherent unfairness

of enforcing a contract which requires performance by one of the parties but leaves the other

party free to accept or reject performance. E.I. Du Pont De Nemours & Co. v. Claibome-Reno

Co. (C.C.A. 8*^) 64F. (2d) 224, 89 A.L.R. 238.

        The Plaintiff engaged in a consumer credit transaction in which she was deprived of her

consumer rights protected by the Truth In Lending Act. Pursuant to 15 USC 1601, the plaintiff

has the irght to an informed use of her credit which she was not provided, neither was the

plaintiff given her irght of rescission. Pursuant to 12 CFR § 1026.4 the finance charge in

connection with any consumer credit transaction shall be determined as the sum of all charges

which was never disclosed to the plaintiff and puts the defendants in direct violation of this law.

The finance charge presented in the disclosures of the Plaintiff’s mortgage does not equate to the

sum of all charges. The Plaintiff was also imposed a down payment of $ 1500 by Virginia

Housing Development Authority, violating 12 CFR § 1026.4 which clearly says that the finance

charge docs not include charges of a type payable in a comparable cash transaction.




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        The agreement in the contract was for Countrywide to extend the Plaintiff credit for the

refinancing of her home. Countrywide breached the agreement by not extending its own credit! 1

which the Plaintiff is now aware it does not have the capacity to do. Pursuant to 12 USC 1431


Powers and Duties of the banks, they only have the capacity to BORROW, GIVE SECURITY,

AND PAY INTEREST. Extending its own credit would be an ultra vires act. Included with the

note signed by the Plaintiff is an endorsement stamped and signed PAY TO THE ORDER OF

COUNTRYWIDE HOME LOANS, INC WITHOUT RECOURSE, signed by the Exec VP

Michele Sjolander evidencing the fraudulent conversion and deposit of the Plaintiff’s promissory

note that was utilized to fund the transaction, then returned to the Plaintiff as a loan requiring her

to repay the extension of her own credit plus interest, see Exhibit C. "It has been settled beyond

controversy that a national bank, under federal Law being limited in its powers and capacity,

cannot lend its credit by guaranteeing the debts of another. All such contracts entered into by its

officers are ultra vires ..." Howard & Foster Co. v. Citizens Nat'l Bank of Union, 133 SC 202,

 30 SE 759(1926).

       All banks are required to adhere to Generally Accepted Accounting Principles (GAAP),

12 USC 183In. GAAP follows a double-entry bookkeeping system called the Matching

Principle. When the bank records an asset from depositing the customer's note, it must also

record an offsetting liability to match the accepted asset. This liability represents the amount

that the bank owes the customer from the funds accepted via the deposit of the note. The

loan from the Plaintiff to the bank was concealed, creating economics like stealing,

counterfeiting, and swindling.

       In July of 2024, the Plaintiff started receiving notices from NewRez, LLC dba Shellpoint.

She sent numerous debt validation notices to the company requesting a copy of her original note




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and clarity on how and why they are contacting her for payment. Shellpoint replied in a notice on

11/11/2024, stating due to the complexity of the matter they were requesting more time to fully

respond to the Plaintiffs inquiry. Shellpoint is a third-party servicer attempting to collect a debt

that not only is not owed to them but does not exist. On this same day, an appointment of a

substitute trustee was executed in Maricopa County, Arizona naming RAS-TRUSTEE

SERVICES, LLC a Virginia LLC as substitute trustee.

        Shortly after the appointment, the Plaintiff received a notice of trustee’s sale dated

11/26/2024. Included in this notice is the appointment of a substitute trustee executed in

Maricopa, Arizona on 11/11/2024 and a description of the property held in the fraudulent trust

that states the real estate property was conveyed by deed to the Plaintiff on May 22, 200 i,

Recorded June 25, 2001, in the county clerk's office. This is also evidenced in Exhibit A. The

defendants are attempting to pursue an unlawful foreclosure to obtain and sell the Plaintiffs

property, regarding which she is the true owner and real party of interest. An injunction to halt

the unlawful foreclosure sale scheduled for January 29, 2025, at 11:30 am at the public auction

held at the front of the circuit court building for the city of Richmond has been filed

conspicuously with this civil complaint for the recoupment of damages the Plaintiff entailed as a

result of the defendant's fraudulent actions. The exhibits attached to this complaint are prima


facie evidence of the fraudulent misrepresentation, extortion of the plaintiff, and the Plaintiff’s

entitlement to relief


                                       VIOLATIONS OF LAW

                                                 COUNT 1


Breach of Contract: Virginia Housing Development Authority and Countrywide Home Loans,

Inc(latcr inquired by BOA Loan Servicing Specialist both breached the contracts entered into



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with the Plaintiffby failing to perfonn its obligation therein. All preceding paragraphs are

incorporated as though fully set forth herein.


                                                 COUNT II


Fraudulent Misrepresentation of .Material Facts: Both VHDA and CHL, Inc misrepresented

themselves as creditors in the transactions, when all they did was play the role of a money

exchanger accepting the promissory note for deposit and using the deposit to fund the

transaction. All preceding paragraphs are incorporated as though ftilly set forth herein.



                                                 COUNT III


Mortgage/Contract Fraud: The initial contractual agreement is fraudulent on its face with the

ambiguous language of “For the loan I received..” when the Plaintiff never received a

loan/extension of credit from tlie bank as she was made to believe. Banks/financial institutions


cannot extend its own credit as it would be an ultra vires act. 12 USC 1431 Powers and Duties of


the Banks grant them the authority to borrow, give security, and pay interest. All preceding

paragraphs are incorporated as though fully set forth herein.



                                                 COUNT IV


TILA Violations: The Plaintiff was not properly informed of the use of her credit in this

transaction which she has the irght to protected by TILA. She also was not informed of her irght

to rescind the agreement. Additionally, the Plaintiff was charged a downpayment of $1500 by

VHDA further violating TILA. All preceding paragraphs are incorporated as though fully set

forth herein.




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                                                COUNT V


Failure to Adhere to GAAP, 12 USC 1831 n: If the bank followed GAAP, there would be an

offsetting liability recorded to match the accepted asset/promissory note. This liability would

show the amount that the bank owes the customer from the funds accepted via the deposit


of the note. It would be showing as a liability the Plaintiff owes to the bank. All preceding

paragraphs are incorporated as though fully set forth herein.



                                                COUNT VI


        Unfair and Deceptive Practices: Virginia's Consumer Protection Act (VCPA) prohibits

unfair and deceptive trade practices. The VCPA protects consumers from fraudulent business

practices, such as false advertising, misrepresentation, and unfair sales tactics. The defendants

engaged in unfair and deceptive practices misrepresenting themselves as lenders in the

transaction and deceiving the Plaintiff into believing she was receiving a loan by way of

extension of credit from their institution. All preceding paragraphs are incorporated as though

fully set forth herein.



                                      PRAYER FOR RELIEF


WHEREFORE,

The Plaintiff respectfully requests that judgment be entered in her favor and against the

Defendants as follows:


    1. Judgment against Defendants as Jointly and Severally Liable for all issues in excess of

        $250,000.

   2. Damages for the Unfair and Deceptive Acts and Practices, and



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    3. Damages for Breach of Contract, and

    4.   Rescission of the Deed of Trust and updated deed recorded in the county record showing

         Plaintiff as the current owner of her property, and

    5, Judgment against Defendants for return of the down payment, repayment of unjust

         enrichment by fraudulent conversions and transfers, all unearned interest, as well as

         interest on the above amount, and

    6. Actual and statutory damages for violations of TILA-15 use 1601, 12 CFR 1026.4, and

    7. Costs and attorneys fees pursuant to relevant Virginia law;

    8. Cost of litigation as provided in Title 15 United States Code, Section 1601 et. seq.,

    9. Pre-Judgment and post judgment interest at the maximum rate allowable by law;

    10. Compensatory damages;

    11. Punitive damages as allowed by law;

    12. Such other and further relief available under all applicable under stale and federal laws


         and any relief the court deems just and appropriate;



                                               Exhibits


    1. Exhibit A: Deed executed on May 25, 2001, and recorded on June 25, 2001, granting the

         property to the Plaintiff as the owner.

    2.   Exhibit B: UCC-11 Search Results


    3.   Exhibit C: Promissory note Plaintiff signed with Countrywide Home Loans, Inc with

         endorsement evidencing deposit and highlighter violations.

   4. Exhibit D: Fraudulent Deed of Trust with highlighted violations




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                                   Certification and Closing


 Under Federal Rule of Civil Procedure 11, by signing below, I certiiy to the best of my
                                                            T




 knowledge, information, and belief that this complaint; (1) is not being presented for an improper

 purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

 (2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or

 reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so

 identified, will likely have evidentiary support after a reasonable opportunity for further

 investigation or discovery; and (4) the complaint otherwise complies with the requirements of
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 Rule 11.                                                   i




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                                                                u               Dated: January 24, 2025


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